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October 24, 2022

VIA ECF

The Honorable Victor Marrero
United States District Judge
United States District Court for the Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

Re:    Ramchandani v. Citigroup, Inc., et al., 19-cv-09124 (VM)

Dear Judge Marrero:

       The parties write jointly on behalf of Plaintiff Rohan Ramchandani (“Plaintiff”) and
Defendants Citigroup Inc., Citicorp LLC and Citibank, N.A. (collectively “Defendants”), pursuant
to Your Honor’s Order dated October 18, 2022 directing the parties to submit a proposed briefing
schedule for Defendants’ motion for summary judgment. The parties met and conferred and have
agreed upon the following proposed briefing schedule for Your Honor’s consideration:

           •   Defendants’ Motion and opening papers due: December 9, 2022
           •   Plaintiff’s opposition due: February 1, 2023
           •   Defendants’ reply due: February 22, 2023

Respectfully submitted,

      LAW OFFICE OF DAVID R. LURIE, PLLC                         GOODWIN PROCTER LLP


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